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 1
                                        EXHIBIT B
 2
                           (Adversary Proceeding Protective Order)
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         GRASSGREEN DECL ISO MOTION TO MODIFY THE INTERIM MODEL PROTECTIVE ORDER
         Case 3:17-cv-00939-WHA DocumentEntered
                                        2726-4 on Docket
                                                Filed 11/05/20 Page 2 of 22
                                                 September 16, 2020
                                                 EDWARD J. EMMONS, CLERK
                                                 U.S. BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA


 1     Debra I. Grassgreen (CA Bar No. 169978) Signed and Filed: September 16, 2020
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 2
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                                              U.S. Bankruptcy Judge
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15                         UNITED STATES BANKRUPTCY COURT FOR THE
                               NORTHERN DISTRICT OF CALIFORNIA
16                                  SAN FRANCISCO DIVISION

17      In re:                                               Bankruptcy Case No. 20-30242 (HLB)
18                                                           Chapter 11
        ANTHONY SCOTT LEVANDOWSKI,
19                                                           Hon. Hannah L. Blumenstiel
                       Debtor.
20

21      ANTHONY SCOTT LEVANDOWSKI,                            Adv. Pro. No. 20-03050

22                     Plaintiff,
                                                              PROTECTIVE ORDER
23               v.
24
        UBER TECHNOLOGIES, INC.,
25
                       Defendant.
26

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     Case: 20-03050     Doc# 42     Filed: 09/16/20   Entered:
                                              PROTECTIVE ORDER 09/16/20 11:11:29       Page 1 of
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 1     1.      PURPOSES AND LIMITATIONS
 2             Disclosure and discovery activity in this Adversary Proceeding (the “action”) are likely to
 3     involve production of confidential, proprietary, or private information for which special protection
 4     from public disclosure and from use for any purpose other than prosecuting this litigation may be
 5     warranted. This Order does not confer blanket protections on all disclosures or responses to
 6     discovery and the protection it affords from public disclosure and use extends only to the limited
 7     information or items that are entitled to confidential treatment under the applicable legal principles.
 8     As set forth in Section 14.4 below, this Protective Order does not entitle the Parties to file
 9     confidential information under seal; Civil Local Rule 79-5 sets forth the procedures that must be
10     followed and the standards that will be applied when a party seeks permission from the court to file
11     material under seal.
12     2.      DEFINITIONS
13             2.1.    Challenging Party: a Party or Non-Party that challenges the designation of
14     information or items under this Order.
15             2.2.    “CONFIDENTIAL” Information or Items: information (regardless of how it is
16     generated, stored or maintained) or tangible things that qualify for protection under Federal Rule of
17     Civil Procedure 26(c).
18             2.3.    Counsel (without qualifier): Outside Counsel of Record and House Counsel (as well
19     as their support staff).
20             2.4.    Designated House Counsel: House Counsel who seek access to “HIGHLY
21     CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information in this matter.
22             2.5.    Designating Party: a Party or Non-Party that designates information or items that it
23     produces in disclosures or in responses to discovery as “CONFIDENTIAL,” “HIGHLY
24     CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE
25     CODE.”
26             2.6.    Disclosure or Discovery Material: all items or information, regardless of the medium
27     or manner in which it is generated, stored, or maintained (including, among other things, testimony,
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 1     transcripts, and tangible things), that are produced or generated in disclosures or responses to
 2     discovery in this matter.
 3            2.7.    Expert: a person with specialized knowledge or experience in a matter pertinent to
 4     the litigation who (1) has been retained by a Party or its counsel to serve as an expert witness or as a
 5     consultant in this action, (2) is not a past or current employee of a Party or of a Party’s competitor,
 6     and (3) at the time of retention, is not anticipated to become an employee of a Party or of a Party’s
 7     competitor.
 8            2.8.    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or Items:
 9     extremely sensitive “Confidential Information or Items,” disclosure of which to another Party or
10     Non-Party would create a substantial risk of serious harm that could not be avoided by less
11     restrictive means.
12            2.9.    “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items: extremely
13     sensitive “Confidential Information or Items” representing computer code and associated comments
14     and revision histories, formulas, engineering specifications, or schematics that define or otherwise
15     describe in detail the algorithms or structure of software or hardware designs, disclosure of which to
16     another Party or Non-Party would create a substantial risk of serious harm that could not be avoided
17     by less restrictive means.
18            2.10.   House Counsel: attorneys who are employees of a party to this action. House
19     Counsel does not include Outside Counsel of Record or any other outside counsel.
20            2.11.   Non-Party: any natural person, partnership, corporation, association, or other legal
21     entity not named as a Party to this action.
22            2.12.   Outside Counsel of Record: attorneys who are not employees of a party to this action
23     but are retained to represent or advise a party to this action and have appeared in this action on
24     behalf of that party or are affiliated with a law firm which has appeared on behalf of that party.
25            2.13.   Party: any party to this action, including all of its officers, directors, employees,
26     consultants, retained experts, and Outside Counsel of Record (and their support staffs).
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 1             2.14.   Producing Party: a Party or Non-Party that produces Disclosure or Discovery
 2     Material in this action.
 3             2.15.   Professional Vendors: persons or entities that provide litigation support services (e.g.,
 4     photocopying, videotaping, translating, preparing exhibits or demonstrations, and organizing,
 5     storing, or retrieving data in any form or medium) and their employees and subcontractors.
 6             2.16.   Protected Material: any Disclosure or Discovery Material that is designated as
 7     “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY
 8     CONFIDENTIAL – SOURCE CODE.”
 9             2.17.   Receiving Party: a Party that receives Disclosure or Discovery Material from a
10     Producing Party.
11
       3.      SCOPE
12
               The protections conferred by this Order cover not only Protected Material (as defined above),
13
       but also (1) any information copied or extracted from Protected Material; (2) all copies, excerpts,
14
       summaries, or compilations of Protected Material; and (3) any testimony, conversations, or
15
       presentations by Parties or their Counsel that might reveal Protected Material. However, the
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       protections conferred by this Order do not cover the following information: (a) any information that
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       is in the public domain at the time of disclosure to a Receiving Party or becomes part of the public
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       domain after its disclosure to a Receiving Party as a result of publication not involving a violation of
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       this Order, including becoming part of the public record through trial or otherwise; and (b) any
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       information known to the Receiving Party prior to the disclosure or obtained by the Receiving Party
21
       after the disclosure from a source who obtained the information lawfully and under no obligation of
22
       confidentiality to the Designating Party. Any use of Protected Material at trial shall be governed by
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       a separate agreement or order.
24
       4.      DURATION
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               Even after final disposition of this litigation, the confidentiality obligations imposed by this
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       Order shall remain in effect until a Designating Party agrees otherwise in writing or a court order
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       otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims and
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 1     defenses in this action, with or without prejudice; and (2) final judgment herein after the completion
 2     and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action, including the
 3     time limits for filing any motions or applications for extension of time pursuant to applicable law.
 4     5.      DESIGNATING PROTECTED MATERIAL
 5             5.1.   Exercise of Restraint and Care in Designating Material for Protection. Each Party or
 6     Non-Party that designates information or items for protection under this Order must take care to
 7     limit any such designation to specific material that qualifies under the appropriate standards. To the
 8     extent it is practical to do so, the Designating Party must designate for protection only those parts of
 9     material, documents, items, or oral or written communications that qualify – so that other portions of
10     the material, documents, items, or communications for which protection is not warranted are not
11     swept unjustifiably within the ambit of this Order.
12             Mass, indiscriminate, or routinized designations are prohibited. Designations that are shown
13     to be clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily
14     encumber or retard the case development process or to impose unnecessary expenses and burdens on
15     other parties) expose the Designating Party to sanctions.
16             If it comes to a Designating Party’s attention that information or items that it designated for
17     protection do not qualify for protection at all or do not qualify for the level of protection initially
18     asserted, that Designating Party must promptly notify all other Parties that it is withdrawing the
19     mistaken designation.
20             5.2.   Manner and Timing of Designations. Except as otherwise provided in this Order (see,
21     e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered, Disclosure or
22     Discovery Material that qualifies for protection under this Order must be clearly so designated
23     before the material is disclosed or produced.
24             Designation in conformity with this Order requires:
25                    (a)      for information in documentary form (e.g., paper or electronic documents, but
26     excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing Party
27     affix the legend “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,”
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 1     or “HIGHLY CONFIDENTIAL – SOURCE CODE” to each page that contains protected material.
 2     If only a portion or portions of the material on a page qualifies for protection, the Producing Party
 3     also must clearly identify the protected portion(s) (e.g., by making appropriate markings in the
 4     margins) and must specify, for each portion, the level of protection being asserted.
 5            A Party or Non-Party that makes original documents or materials available for inspection
 6     need not designate them for protection until after the inspecting Party has indicated which material it
 7     would like copied and produced. During the inspection and before the designation, all of the
 8     material made available for inspection shall be deemed “HIGHLY CONFIDENTIAL –
 9     ATTORNEYS’ EYES ONLY.” After the inspecting Party has identified the documents it wants
10     copied and produced, the Producing Party must determine which documents, or portions thereof,
11     qualify for protection under this Order. Then, before producing the specified documents, the
12     Producing Party must affix the appropriate legend (“CONFIDENTIAL,” “HIGHLY
13     CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE
14     CODE”) to each page that contains Protected Material. If only a portion or portions of the material
15     on a page qualifies for protection, the Producing Party also must clearly identify the protected
16     portion(s) (e.g., by making appropriate markings in the margins) and must specify, for each portion,
17     the level of protection being asserted.
18                    (b)     for testimony given in deposition or in other pretrial or trial proceedings, that
19     the Designating Party identify on the record, before the close of the deposition, hearing, or other
20     proceeding, all protected testimony and specify the level of protection being asserted. When it is
21     impractical to identify separately each portion of testimony that is entitled to protection and it
22     appears that substantial portions of the testimony may qualify for protection, the Designating Party
23     may invoke on the record (before the deposition, hearing, or other proceeding is concluded) a right
24     to have up to 10 days to identify the specific portions of the testimony as to which protection is
25     sought and to specify the level of protection being asserted. Only those portions of the testimony
26     that are appropriately designated for protection within the 10 days shall be covered by the provisions
27     of this Protective Order. Alternatively, a Designating Party may specify, at the deposition or up to 10
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 1     days afterwards if that period is properly invoked, that the entire transcript shall be treated as
 2     “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
 3            Parties shall give the other parties notice if they reasonably expect a deposition, hearing, or
 4     other proceeding to include Protected Material so that the other parties can ensure that only
 5     authorized individuals who have signed the “Acknowledgment and Agreement to Be Bound”
 6     (Exhibit A) are present at those proceedings. The use of a document as an exhibit at a deposition
 7     shall not in any way affect its designation as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
 8     ATTORNEYS’ EYES ONLY.”
 9            Transcripts containing Protected Material shall have an obvious legend on the title page that
10     the transcript contains Protected Material, and the title page shall be followed by a list of all pages
11     (including line numbers as appropriate) that have been designated as Protected Material and the level
12     of protection being asserted by the Designating Party. The Designating Party shall inform the court
13     reporter of these requirements. Any transcript that is prepared before the expiration of a 10-day
14     period for designation shall be treated during that period as if it had been designated “HIGHLY
15     CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety unless otherwise agreed. After the
16     expiration of that period, the transcript shall be treated only as actually designated.
17                    (c)     for information produced in some form other than documentary and for any
18     other tangible items, that the Producing Party affix in a prominent place on the exterior of the
19     container or containers in which the information or item is stored the legend “CONFIDENTIAL,”
20     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL –
21     SOURCE CODE.” If only a portion or portions of the information or item warrant protection, the
22     Producing Party, to the extent practicable, shall identify the protected portion(s) and specify the level
23     of protection being asserted.
24            5.3.    Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
25     designate qualified information or items does not, standing alone, waive the Designating Party’s
26     right to secure protection under this Order for such material. Upon timely correction of a
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 1     designation, the Receiving Party must make reasonable efforts to assure that the material is treated in
 2     accordance with the provisions of this Order.
 3     6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
 4             6.1.   Timing of Challenges. Any Party or Non-Party may challenge a designation of
 5     confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality
 6     designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic burdens,
 7     or a significant disruption or delay of the litigation, a Party does not waive its right to challenge a
 8     confidentiality designation by electing not to mount a challenge promptly after the original
 9     designation is disclosed.
10             6.2.   Meet and Confer. The Challenging Party shall initiate the dispute resolution process
11     by providing written notice of each designation it is challenging and describing the basis for each
12     challenge. To avoid ambiguity as to whether a challenge has been made, the written notice must
13     recite that the challenge to confidentiality is being made in accordance with this specific paragraph
14     of the Protective Order. The parties shall attempt to resolve each challenge in good faith and must
15     begin the process by conferring directly (in voice to voice dialogue; other forms of communication
16     are not sufficient) within 5 days of the date of service of notice. In conferring, the Challenging Party
17     must explain the basis for its belief that the confidentiality designation was not proper and must give
18     the Designating Party an opportunity to review the designated material, to reconsider the
19     circumstances, and, if no change in designation is offered, to explain the basis for the chosen
20     designation. A Challenging Party may proceed to the next stage of the challenge process only if it
21     has engaged in this meet and confer process first or establishes that the Designating Party is
22     unwilling to participate in the meet and confer process in a timely manner.
23             6.3.   Judicial Intervention. If the Parties cannot resolve a challenge without court
24     intervention, the Designating Party shall file and serve a motion to retain confidentiality under
25     Bankruptcy Local Rule 7007-1 (and in compliance with Civil Local Rule 79-5, if applicable) within
26     10 days of the initial notice of challenge or within 7 days of the parties agreeing that the meet and
27     confer process will not resolve their dispute, whichever is earlier. Each such motion must be
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 1     accompanied by a competent declaration affirming that the movant has complied with the meet and
 2     confer requirements imposed in the preceding paragraph. Failure by the Designating Party to make
 3     such a motion including the required declaration within 10 days (or 7 days, if applicable) shall
 4     automatically waive the confidentiality designation for each challenged designation. In addition, the
 5     Challenging Party may file a motion challenging a confidentiality designation at any time if there is
 6     good cause for doing so, including a challenge to the designation of a deposition transcript or any
 7     portions thereof. Any motion brought pursuant to this provision must be accompanied by a
 8     competent declaration affirming that the movant has complied with the meet and confer
 9     requirements imposed by the preceding paragraph.
10            The burden of persuasion in any such challenge proceeding shall be on the Designating
11     Party. Frivolous challenges and those made for an improper purpose (e.g., to harass or impose
12     unnecessary expenses and burdens on other parties) may expose the Challenging Party to sanctions.
13     Unless the Designating Party has waived the confidentiality designation by failing to file a motion to
14     retain confidentiality as described above, all parties shall continue to afford the material in question
15     the level of protection to which it is entitled under the Producing Party’s designation until the court
16     rules on the challenge.
17     7.     ACCESS TO AND USE OF PROTECTED MATERIAL
18            7.1.    Basic Principles. A Receiving Party may use Protected Material that is disclosed or
19     produced by another Party or by a Non-Party in connection with this case only for prosecuting,
20     defending, or attempting to settle this litigation. Such Protected Material may be disclosed only to
21     the categories of persons and under the conditions described in this Order. When the litigation has
22     been terminated, a Receiving Party must comply with the provisions of section 15 below (FINAL
23     DISPOSITION).
24            Protected Material must be stored and maintained by a Receiving Party at a location and in a
25     secure manner that ensures that access is limited to the persons authorized under this Order.
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 1          7.2.    Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered
 2   by the court or permitted in writing by the Designating Party, a Receiving Party may disclose any
 3   information or item designated “CONFIDENTIAL” only to:
 4                  (a)       the Receiving Party’s Outside Counsel of Record in this action, as well as
 5   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the
 6   information for this litigation and who have signed the “Acknowledgment and Agreement to Be
 7   Bound” that is attached hereto as Exhibit A;
 8                  (b)       the officers, directors, and employees (including House Counsel) of the
 9   Receiving Party to whom disclosure is reasonably necessary for this litigation and who have signed
10   the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
11                  (c)       Experts (as defined in this Order) of the Receiving Party to whom disclosure
12   is reasonably necessary for this litigation and who have signed the “Acknowledgment and
13   Agreement to Be Bound” (Exhibit A);
14                  (d)       the court and its personnel;
15                  (e)       court reporters and their staff, professional jury or trial consultants, and
16   Professional Vendors to whom disclosure is reasonably necessary for this litigation and who have
17   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
18                  (f)       during their depositions, witnesses in the action to whom disclosure is
19   reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”
20   (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the court. Pages of
21   transcribed deposition testimony or exhibits to depositions that reveal Protected Material must be
22   separately bound by the court reporter and may not be disclosed to anyone except as permitted under
23   this Protective Order.
24                  (g)       the author or recipient of a document containing the information or a
25   custodian or other person who otherwise possessed or knew the information.
26          7.3.    Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” and
27   “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items. Unless otherwise ordered
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                                                          10
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 1   by the court or permitted in writing by the Designating Party, a Receiving Party may disclose any
 2   information or item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or
 3   “HIGHLY CONFIDENTIAL – SOURCE CODE” only to:
 4                    (a)      the Receiving Party’s Outside Counsel of Record in this action, as well as
 5   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the
 6   information for this litigation and who have signed the “Acknowledgment and Agreement to Be
 7   Bound” that is attached hereto as Exhibit A;
 8                    (b)      Designated House Counsel of the Receiving Party (1) who has no
 9   involvement in competitive decision-making, (2) to whom disclosure is reasonably necessary for this
10   litigation, (3) who has signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), and
11   (4) as to whom the procedures set forth in paragraph 7.4(a)(1), below, have been followed;1
12                    (c)      Experts of the Receiving Party (1) to whom disclosure is reasonably necessary
13   for this litigation, (2) who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit
14   A), and (3) as to whom the procedures set forth in paragraph 7.4(a)(2), below, have been followed;
15                    (d)      the court and its personnel;
16                    (e)      court reporters and their staff, professional jury or trial consultants, and
17   Professional Vendors to whom disclosure is reasonably necessary for this litigation and who have
18   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A); and
19                    (f)      the author or recipient of a document containing the information or a
20   custodian or other person who otherwise possessed or knew the information.
21           7.4.     Procedures for Approving or Objecting to Disclosure of “HIGHLY
22   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE
23   CODE” Information or Items to Designated House Counsel or Experts.
24                    (a)(1) Unless otherwise ordered by the court or agreed to in writing by the
25   Designating Party, a Party that seeks to disclose to Designated House Counsel any information or
26   item that has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
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     1 This Order contemplates that Designated House Counsel shall not have access to any information or items designated
28   “HIGHLY CONFIDENTIAL – SOURCE CODE.”
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 1   pursuant to paragraph 7.3(b) first must make a written request to the Designating Party that (1) sets
 2   forth the full name of the Designated House Counsel and the city and state of his or her residence
 3   and (2) describes the Designated House Counsel’s current and reasonably foreseeable future primary
 4   job duties and responsibilities in sufficient detail to determine if House Counsel is involved, or may
 5   become involved, in any competitive decision-making.
 6                     (a)(2) Unless otherwise ordered by the court or agreed to in writing by the
 7   Designating Party, a Party that seeks to disclose to an Expert (as defined in this Order) any
 8   information or item that has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 9   ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” pursuant to paragraph 7.3(c) first must
10   make a written request to the Designating Party that (1) identifies the general categories of
11   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL –
12   SOURCE CODE” information that the Receiving Party seeks permission to disclose to the Expert,
13   (2) sets forth the full name of the Expert and the city and state of his or her primary residence, (3)
14   attaches a copy of the Expert’s current resume, (4) identifies the Expert’s current employer(s), (5)
15   identifies each person or entity from whom the Expert has received compensation or funding for
16   work in his or her areas of expertise or to whom the expert has provided professional services,
17   including in connection with a litigation, at any time during the preceding five years,2 and (6)
18   identifies (by name and number of the case, filing date, and location of court) any litigation in
19   connection with which the Expert has offered expert testimony, including through a declaration,
20   report, or testimony at a deposition or trial, during the preceding five years.
21                     (b)       A Party that makes a request and provides the information specified in the
22   preceding respective paragraphs may disclose the subject Protected Material to the identified
23   Designated House Counsel or Expert unless, within 7 days of delivering the request, the Party
24   receives a written objection from the Designating Party. Any such objection must set forth in detail
25   the grounds on which it is based.
26
     2 If the Expert believes any of this information is subject to a confidentiality obligation to a third-party, then the Expert
27   should provide whatever information the Expert believes can be disclosed without violating any confidentiality
     agreements, and the Party seeking to disclose to the Expert shall be available to meet and confer with the Designating
28   Party regarding any such engagement.
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 1                    (c)      A Party that receives a timely written objection must meet and confer with the
 2   Designating Party (through direct voice to voice dialogue) to try to resolve the matter by agreement
 3   within five days of the written objection. If no agreement is reached, the Party seeking to make the
 4   disclosure to Designated House Counsel or the Expert may file a motion as provided in Bankruptcy
 5   Local Rule 7007-1(and in compliance with Civil Local Rule 79-5, if applicable) seeking permission
 6   from the court to do so. Any such motion must describe the circumstances with specificity, set forth
 7   in detail the reasons why disclosure to Designated House Counsel or the Expert is reasonably
 8   necessary, assess the risk of harm that the disclosure would entail, and suggest any additional means
 9   that could be used to reduce that risk. In addition, any such motion must be accompanied by a
10   competent declaration describing the parties’ efforts to resolve the matter by agreement (i.e., the
11   extent and the content of the meet and confer discussions) and setting forth the reasons advanced by
12   the Designating Party for its refusal to approve the disclosure.
13           In any such proceeding, the Party opposing disclosure to Designated House Counsel or the
14   Expert shall bear the burden of proving that the risk of harm that the disclosure would entail (under
15   the safeguards proposed) outweighs the Receiving Party’s need to disclose the Protected Material to
16   its Designated House Counsel or Expert.
17   8.      PROSECUTION BAR
18           Absent written consent from the Producing Party, any individual who receives access to
19   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL –
20   SOURCE CODE” information shall not be involved in the prosecution of patents or patent
21   applications relating to the subject matter of this action, including without limitation the patents
22   asserted in this action and any patent or application claiming priority to or otherwise related to the
23   patents asserted in this action, before any foreign or domestic agency, including the United States
24   Patent and Trademark Office (“the Patent Office”). For purposes of this paragraph, “prosecution”
25   includes directly or indirectly drafting, amending, advising, or otherwise affecting the scope or
26   maintenance of patent claims.3 To avoid any doubt, “prosecution” as used in this paragraph does not
27

28   3 Prosecution includes, for example, original prosecution, reissue and reexamination proceedings.
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 1   include representing a party challenging a patent before a domestic or foreign agency (including, but
 2   not limited to, a reissue protest, ex parte reexamination or inter partes reexamination). This
 3   Prosecution Bar shall begin when access to “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 4   ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” information is first received by the
 5   affected individual and shall end two (2) years after final termination of this action.
 6   9.     SOURCE CODE
 7                  (a)     To the extent production of source code becomes necessary in this case, a
 8   Producing Party may designate source code as “HIGHLY CONFIDENTIAL – SOURCE CODE” if
 9   it comprises or includes confidential, proprietary or trade secret source code.
10                  (b)     Protected Material designated as “HIGHLY CONFIDENTIAL – SOURCE
11   CODE” shall be subject to all of the protections afforded to “HIGHLY CONFIDENTIAL –
12   ATTORNEYS’ EYES ONLY” information, including the Prosecution Bar set forth in Paragraph 8,
13   and may be disclosed only to the individuals to whom “HIGHLY CONFIDENTIAL –
14   ATTORNEYS’ EYES ONLY” information may be disclosed, as set forth in Paragraphs 7.3 and 7.4,
15   with the exception of Designated House Counsel.
16                  (c)     Any source code produced in discovery shall be made available for inspection,
17   in a format allowing it to be reasonably reviewed and searched, during normal business hours or at
18   other mutually agreeable times, at an office of the Producing Party’s counsel or another mutually
19   agreed upon location. The source code shall be made available for inspection on a secured computer
20   in a secured room without Internet access or network access to other computers, and the Receiving
21   Party shall not copy, remove, or otherwise transfer any portion of the source code onto any
22   recordable media or recordable device. The Producing Party may visually monitor the activities of
23   the Receiving Party’s representatives during any source code review, but only to ensure that there is
24   no unauthorized recording, copying, or transmission of the source code.
25                  (d)     The Receiving Party may request paper copies of limited portions of source
26   code that are reasonably necessary for the preparation of court filings, pleadings, expert reports, or
27   other papers, or for deposition or trial, but shall not request paper copies for the purpose of
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                                                        14
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 1   reviewing the source code other than electronically as set forth in paragraph (c) in the first instance.
 2   The Producing Party shall provide all such source code in paper form, including bates numbers and
 3   the label “HIGHLY CONFIDENTIAL – SOURCE CODE.” The Producing Party may challenge the
 4   amount of source code requested in hard copy form pursuant to the dispute resolution procedure and
 5   timeframes set forth in Paragraph 6 whereby the Producing Party is the “Challenging Party” and the
 6   Receiving Party is the “Designating Party” for purposes of dispute resolution.
 7                  (e)     The Receiving Party shall maintain a record of any individual who has
 8   inspected any portion of the source code in electronic or paper form. The Receiving Party shall
 9   maintain all paper copies of any printed portions of the source code in a secured, locked area. The
10   Receiving Party shall not create any electronic or other images of the paper copies and shall not
11   convert any of the information contained in the paper copies into any electronic format. The
12   Receiving Party shall only make additional paper copies if such additional copies are (1) necessary
13   to prepare court filings, pleadings, or other papers (including a testifying expert’s expert report), (2)
14   necessary for deposition, or (3) otherwise necessary for the preparation of its case. Any paper copies
15   used during a deposition shall be retrieved by the Producing Party at the end of each day and must
16   not be given to or left with a court reporter or any other unauthorized individual.
17   10.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
            LITIGATION
18

19          If a Party is served with a subpoena or a court order issued in other litigation that compels
20   disclosure of any information or items designated in this action as “CONFIDENTIAL,” “HIGHLY
21   CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE
22   CODE,” that Party must:
23                  (a)     promptly notify in writing the Designating Party. Such notification shall
24   include a copy of the subpoena or court order;
25                  (b)     promptly notify in writing the party who caused the subpoena or order to issue
26   in the other litigation that some or all of the material covered by the subpoena or order is subject to
27   this Protective Order. Such notification shall include a copy of this Protective Order; and
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 1                     (c)       cooperate with respect to all reasonable procedures sought to be pursued by
 2   the Designating Party whose Protected Material may be affected.4 If the Designating Party timely
 3   seeks a protective order, the Party served with the subpoena or court order shall not produce any
 4   information designated in this action as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –
 5   ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” before a
 6   determination by the court from which the subpoena or order issued, unless the Party has obtained
 7   the Designating Party’s permission. The Designating Party shall bear the burden and expense of
 8   seeking protection in that court of its confidential material – and nothing in these provisions should
 9   be construed as authorizing or encouraging a Receiving Party in this action to disobey a lawful
10   directive from another court.
11   11.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS
              LITIGATION
12

13                     (a)       The terms of this Order are applicable to information produced by a Non-
14   Party in this action and designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –
15   ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.” Such
16   information produced by Non-Parties in connection with this litigation is protected by the remedies
17   and relief provided by this Order. Nothing in these provisions should be construed as prohibiting a
18   Non-Party from seeking additional protections.
19                     (b)       In the event that a Party is required, by a valid discovery request, to produce a
20   Non-Party’s confidential information in its possession, and the Party is subject to an agreement with
21   the Non-Party not to produce the Non-Party’s confidential information, then the Party shall:
22                               1.       promptly notify in writing the Requesting Party and the Non-Party that
23   some or all of the information requested is subject to a confidentiality agreement with a Non-Party;
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27   4 The purpose of imposing these duties is to alert the interested parties to the existence of this Protective Order and to
     afford the Designating Party in this case an opportunity to try to protect its confidentiality interests in the court from
28   which the subpoena or order issued.
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 1                               2.        promptly provide the Non-Party with a copy of the Protective Order in
 2   this litigation, the relevant discovery request(s), and a reasonably specific description of the
 3   information requested; and
 4                               3.        make the information requested available for inspection by the Non-
 5   Party.
 6                     (c)       If the Non-Party fails to object or seek a protective order from this court
 7   within 7 days of receiving the notice and accompanying information, the Receiving Party may
 8   produce the Non-Party’s confidential information responsive to the discovery request. If the Non-
 9   Party timely seeks a protective order, the Receiving Party shall not produce any information in its
10   possession or control that is subject to the confidentiality agreement with the Non-Party before a
11   determination by the court.5 Absent a court order to the contrary, the Non-Party shall bear the burden
12   and expense of seeking protection in this court of its Protected Material.
13   12.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
14            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected
15   Material to any person or in any circumstance not authorized under this Protective Order, the
16   Receiving Party must immediately (a) notify in writing the Designating Party of the unauthorized
17   disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected Material, (c)
18   inform the person or persons to whom unauthorized disclosures were made of all the terms of this
19   Order, and (d) request such person or persons to execute the “Acknowledgment and Agreement to
20   Be Bound” that is attached hereto as Exhibit A.
21   13.      INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
              MATERIAL
22

23            When a Producing Party gives notice to Receiving Parties that certain inadvertently produced
24   material is subject to a claim of privilege or other protection, the obligations of the Receiving Parties
25   are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to
26   modify whatever procedure may be established in an e-discovery order that provides for production
27
     5 The purpose of this provision is to alert the interested parties to the existence of confidentiality rights of a Non- Party
28   and to afford the Non-Party an opportunity to protect its confidentiality interests in this court.
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 1   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
 2   parties reach an agreement on the effect of disclosure of a communication or information covered by
 3   the attorney-client privilege or work product protection, the parties may incorporate their agreement
 4   in a stipulated protective order submitted to the court.
 5   14.    MISCELLANEOUS
 6          14.1.   Right to Further Relief. Nothing in this Order abridges the right of any person to seek
 7   its modification by the court in the future.
 8          14.2.   Right to Assert Other Objections. No Party waives any right it otherwise would have
 9   to object to disclosing or producing any information or item on any ground not addressed in this
10   Protective Order. Similarly, no Party waives any right to object on any ground to use in evidence of
11   any of the material covered by this Protective Order.
12          14.3.   Export Control. Disclosure of Protected Material shall be subject to all applicable
13   laws and regulations relating to the export of technical data contained in such Protected Material,
14   including the release of such technical data to foreign persons or nationals in the United States or
15   elsewhere. The Producing Party shall be responsible for identifying any such controlled technical
16   data, and the Receiving Party shall take measures necessary to ensure compliance.
17          14.4.   Filing Protected Material. Without written permission from the Designating Party or
18   a court order secured after appropriate notice to all interested persons, a Party may not file in the
19   public record in this action any Protected Material. A Party that seeks to file under seal any
20   Protected Material must comply with Civil Local Rule 79-5. Protected Material may only be filed
21   under seal pursuant to a court order authorizing the sealing of the specific Protected Material at
22   issue. Pursuant to Civil Local Rule 79-5, a sealing order will issue only upon a request establishing
23   that the Protected Material at issue is privileged, protectable as a trade secret, or otherwise entitled to
24   protection under the law. If a Receiving Party’s request to file Protected Material under seal
25   pursuant to Civil Local Rule 79-5(e) is denied by the court, then the Receiving Party may file the
26   Protected Material in the public record pursuant to Civil Local Rule 79-5(e)(2) unless otherwise
27   instructed by the court.
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 1   15.    FINAL DISPOSITION
 2          Within 60 days after the final disposition of this action, as defined in paragraph 4, each
 3   Receiving Party must return all Protected Material to the Producing Party or destroy such material.
 4   As used in this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
 5   summaries, and any other format reproducing or capturing any of the Protected Material. Whether
 6   the Protected Material is returned or destroyed, the Receiving Party must submit a written
 7   certification to the Producing Party (and, if not the same person or entity, to the Designating Party)
 8   by the 60 day deadline that (1) identifies (by category, where appropriate) all the Protected Material
 9   that was returned or destroyed and (2) affirms that the Receiving Party has not retained any copies,
10   abstracts, compilations, summaries or any other format reproducing or capturing any of the Protected
11   Material. Notwithstanding this provision, Counsel are entitled to retain an archival copy of all
12   pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,
13   correspondence, deposition and trial exhibits, expert reports, attorney work product, and consultant
14   and expert work product, even if such materials contain Protected Material. Any such archival
15   copies that contain or constitute Protected Material remain subject to this Protective Order as set
16   forth in Section 4 (DURATION).
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 1                                                 EXHIBIT A
 2                      ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3          I, _____________________________ [print or type full name], of _________________
 4   [print or type full address], declare under penalty of perjury that I have read in its entirety and
 5   understand the Protective Order that was issued by the United States Bankruptcy Court for the
 6   Northern District of California on _______ [date] in the case of ___________ [insert formal name
 7   of the case and the number and initials assigned to it by the court]. I agree to comply with and
 8   to be bound by all the terms of this Protective Order, and I understand and acknowledge that failure
 9   to so comply could expose me to sanctions and punishment in the nature of contempt. I solemnly
10   promise that I will not disclose in any manner any information or item that is subject to this
11   Protective Order to any person or entity except in strict compliance with the provisions of this Order.
12          I further agree to submit to the jurisdiction of the United States Bankruptcy Court for the
13   Northern District of California for the purpose of enforcing the terms of this Protective Order, even
14   if such enforcement proceedings occur after termination of this action.
15          I hereby appoint __________________________ [print or type full name] of
16   _______________________________________ [print or type full address and telephone number] as
17   my California agent for service of process in connection with this action or any proceedings related
18   to enforcement of this Protective Order.
19   Date: _________________________________
20   City and State where sworn and signed: _________________________________
21   Printed name: ______________________________
                         [printed name]
22

23   Signature: __________________________________
24                       [signature]

25
                                            ***END OF ORDER***
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